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      United States District Court, Eastern District of Washington
                               Magistrate Judge James P. Hutton
                                            Yakima

 USA v. CARLOS RUELAS-                                        Case          4:21-CR-6028-MKD-9
 VALDOVINOS                                                   No.

                                        Video Conference
                        The Defendant agreed to appear via video conference.

 Arraignment/Initial Appearance on 2nd Superseding                                            04/08/2022
 Indictment:


 ☒ Pam Howard, Courtroom Deputy [Y]                     ☒ Stephanie Van Marter, US Atty (video)
                                                        ☒ Scott Johnson, Defense Atty (video)
 ☒ Erica Helms, US Probation / Pretrial                 ☒ Interpreter NOT REQUIRED
   Services Officer (tele)
 ☒ Defendant present ☒ in custody USM                   ☐ Defendant not present / failed to appear
   appeared by video from Benton County Jail
   ☐out of custody

 ☒    USA Motion for Detention                          ☒    Rights given
 ☐    USA not seeking detention                         ☒    Acknowledgment of Rights filed
 ☒    Financial Affidavit (CJA 23) filed                ☒    Defense to ensure Defendant receives copy of
                                                             charging document
 ☐    The Court will appoint the Federal Defenders      ☒    Defendant waived reading of charging document
 ☒    Based upon conflict with Federal Defenders, the   ☐    Charging document read in open court
      Court will appoint CJA Panel Attorney, Scott
      Johnson
 ☒    Supplemental PRE-Trial Services Report ordered    ☐    POST Pre-Trial Services Report ordered

 ☐    AO Advice of Penalties/Sanctions filed


                                                 REMARKS
         Due to current COVID-19 public health crisis, all parties including Defendant, appeared by video
or teleconference.
         Defendant appeared and was assisted by counsel and advised of their rights and the allegations
contained in the charging document.
         The Defendant acknowledged to the Court that their true and correct name is: CARLOS
RUELAS-VALDOVINOS
         “Not guilty” plea entered.
         Discovery to be provided pursuant to the local rule on discovery.

The Court ordered:
        1. Defendant shall be detained by the U. S. Marshal until further order of the Court.

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      2. As required by Rule 5(f), the United States is ordered to produce all information required by
         Brady v. Maryland and its progeny. Not doing so in a timely manner may result in sanctions,
         including exclusion of evidence, adverse jury instructions, dismissal of charges, and contempt
         proceedings. Order forthcoming.




                                     Detention Hearing:
                               04/13/2022 @ 3:30 p.m. [Y/JPH]
                                        (Video Conf)




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